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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
                               (SOUTHERN DIVISION)
 __________________________________________________________________________________

ANTHONY ROBINSON,                                                  CASE NO. 8:20-cv-02638
         Plaintiff,

       vs.

TRANS UNION LLC;
            Defendant.
____________________________________________________________________________________

                    TRANS UNION, LLC’S NOTICE OF REMOVAL
____________________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans Union”)

hereby removes the subject action from the Circuit Court for Prince George’s County, Maryland, to the

United States District Court for the District of Maryland, on the following grounds:

       1.      Plaintiff Anthony Robinson served Trans Union on or about August 17, 2020, with a

Summons and Complaint filed in the Circuit Court for Prince George’s County, Maryland. Copies of

the Summons and Complaint are attached hereto as Exhibit A and Exhibit B. No other process,

pleadings or orders have been served on Trans Union.

       2.      Plaintiff makes claims under, alleges that Trans Union violated and alleges that Trans

Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”). See

Complaint ¶¶ 1 & 14-46.

       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C. § 1331

since there is a federal question. As alleged, this suit falls within the FCRA which thus supplies this

federal question.
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       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the Circuit Court

for Prince George’s County, Maryland, to the United States District Court for the District of Maryland.

       5.      Notice of this removal will promptly be filed with the Circuit Court for Prince George’s

County, Maryland and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action from the

Circuit Court for Prince George’s County, Maryland to this United States District Court, District of

Maryland.

                                                     Respectfully submitted,


                                                     /s/ Robert J. Schuckit
                                                     Robert J. Schuckit, Esq. (MD Federal Bar #14125)
                                                     Schuckit & Associates, P.C.
                                                     4545 Northwestern Drive
                                                     Zionsville, IN 46077
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                                                     Counsel for Defendant Trans Union LLC




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                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically on the

14th day of September, 2020. Notice of this filing will be sent to the following parties by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s electronic filing.

None.

        The undersigned further certifies that a true copy of the foregoing was served on the following

parties via First Class, U.S. Mail, postage prepaid, on the 14th day of September, 2020 properly

addressed as follows:

for Plaintiff Anthony Robinson
Quinn B. Lobato, Esq.
210 Grisdale Hill
Riva, MD 21140



                                                      /s/ Robert J. Schuckit
                                                      Robert J. Schuckit, Esq. (MD Federal Bar #14125)
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                                                      Counsel for Defendant Trans Union LLC




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